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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

Jeffrey Weisen,

                Plaintiff,

v.                                                        Case No. 19-cv-2624 (JNE/ECW)
                                                          ORDER
Northern Tier Retail LLC,

                Defendant.


             This case was scheduled for trial on October 5, 2021, pursuant to this Court’s

     order dated August 25, 2021. Bench trial began at 9:37 AM on October 5, 2021.

     Plaintiff was not in attendance, and Plaintiff’s counsel entered no evidence on behalf

     of Plaintiff. Therefore, this case is dismissed with prejudice.

        Accordingly, IT IS ORDERED THAT:

        1.      The claims remaining before this Court in Plaintiff’s complaint [ECF No.
                1-1] are DISMISSED WITH PREJUDICE.

        LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: October 5, 2021
                                                          s/ Joan N. Ericksen
                                                          JOAN N. ERICKSEN
                                                          United States District Judge
